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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                                   www.flsb.uscourts.gov

In re:                                                Case No.: 16-26113-RBR
                                                      Chapter 7
ENDLESS JEWELRY NORTH AND
SOUTH AMERICA, LLC,

      Debtor.
_________________________________/

 TRUSTEE’S EMERGENCY MOTION TO RECONSIDER THE ORDER DISMISSING
      CASE [ECF NO. 25], REINSTATING THE BANKRUPTCY CASE AND
   DIRECTING THE CLERK TO RE-NOTICE THE MEETING OF CREDITORS

         Marc P. Barmat (the “Trustee”), the duly appointed and acting Chapter 7 trustee for the

estate of Endless Jewelry North and South America, LLC (the “Debtor”), by and through

undersigned counsel, files this motion to reconsider the Order Dismissing Case [ECF No. 25] 9the

“Dismissal Order”) entered by this Court on January 4, 2017, reinstating the bankruptcy case, and

directing the Clerk to re-notice the Meeting of Creditors, and in support states:

  I.     Statement of Exigent Circumstances

         1.     The Debtor is a Florida limited liability company, with no employees, leased office

space filled with inventory, displays, and office furniture, fixtures, and equipment, and a European

parent company presently in a German Bankruptcy Proceeding. There are substantial assets of the

Debtor, including but not limited to accounts receivable, licenses, and insurance policies, which

can be used to satisfy the debts of the Estate, which as of the filing of this Motion already exceed

$132,000.00. Furthermore, the Trustee has been contacted by several potential purchasers of the

Debtor’s assets. The reason for the emergency is that if this case is allowed to linger in its present

state before being reinstated, some of the assets could become stale or worthless, the lease will be

in default and the landlord could possibly obtain control of the property currently in the leased

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office space and severely injure or diminish the estate and the recovery of the unsecured creditors,

and offers to purchase the assets could be revoked or withdrawn completely. The Trustee

respectfully requests that this Motion be set for hearing on or before January 10, 2017.

    II.    Background

           2.       On December 2, 2016, the Debtor filed a voluntary petition for relief under Chapter

7 of the Bankruptcy Code1 [ECF No. 1].

           3.       On December 15, 2016, the Debtor filed an Ex Parte Motion for Extension of Time

to Files Schedules and Statements [ECF No. 20]. On December 20, 2016, the Court entered the

Order Granting Ex Parte Motion for Extension of Time to File Schedules and Statements [ECF

No. 22], giving the Debtor through December 27, 2016, to file its Schedules and Statements.

           4.       The Debtor did not file the required Schedules or Statements. On January 4, 2017,

this Court entered its the Dismissal Order, as a result of the Debtor’s failure to file its Schedules

and Statements. The deadline to file a motion to reconsider is January 18, 2017. This motion is

timely filed.

           5.       The Debtor is Florida limited liability company, with no employees, leased office

space filled with inventory, displays, and office furniture, fixtures, and equipment, and a European

parent company presently in a German Bankruptcy Proceeding. There are substantial assets of the

Debtor, including but not limited to accounts receivable, licenses, trademarks and other intellectual

property, and insurance policies, which can be used to satisfy the debts of the bankruptcy estate.

As of the filing of this Motion the unsecured claims filed in the bankruptcy case exceed

$132,000.00.




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    11 U.S.C. §§ 101 et seq.

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        6.      It is in the best interest of the creditors of the Debtor that this bankruptcy case be

reinstated and the Debtor be compelled to file the required Schedules and Statements. The

dismissal of this bankruptcy case with a prolonged prejudice period will result in the complete

dissipation of assets to the detriment of the unsecured creditor body.

        7.      The Trustee has received a number of inquiries regarding the purchase of the

Debtor’s assets. If this case remains dismissed these offers may disappear, again to the detriment

of the unsecured creditors.

        8.      Accordingly, the Trustee is of the opinion that the dismissal of this Case is not be

in the best interests of creditors.

        9.      The Debtor’s Meeting of Creditors, pursuant to Section 341 of the Bankruptcy

Code, was scheduled for January 9, 2017. The Debtor voluntarily put itself into bankruptcy and

the Trustee would like the opportunity to examine the Debtor at a Meeting of Creditors.

        10.     Therefore, the Trustee requests reconsideration of the dismissal order,

reinstatement of this bankruptcy case, requiring the Debtor to file all required documents and

schedules, and re-noticing of the Debtor’s Meeting of Creditors.

        WHEREFORE, Marc P. Barmat, Chapter 7 Trustee for the bankruptcy estate of Endless

Jewelry North and South America, LLC, respectfully requests that this Honorable Court enter an

order, substantially in the form of the order attached hereto as Exhibit “A”: (i) granting this

Motion: (ii) vacating the Dismissal Order; (iii) re-instating the Bankruptcy Case; (iv) requiring the

Debtor to file all required documents, schedules, and statements; and (v) directing the Clerk of the

Court to re-notice the Meeting of Creditors upon the filing of all required documents and

schedules; and (v) granting such other and further relief as this Court deems just and proper.




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Respectfully submitted this 5th day of January 2017.

                                                   FURR COHEN
                                                   Attorneys for Trustee
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                                                   Boca Raton, Florida 33431
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                                                   By: /s/Jason S. Rigoli
                                                       Jason S. Rigoli, Esq.
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                          UNITED STATES BANKRUPTCY COURT
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In re:                                               Case No.: 16-26113-RBR
                                                     Chapter 7
ENDLESS JEWELRY NORTH AND
SOUTH AMERICA, LLC,

      Debtor.
_________________________________/

          ORDER GRANTING TRUSTEE’S EMERGENCY MOTION TO
          RECONSIDER THE ORDER DISMISSING CASE [ECF NO. 25],
                REINSTATING THE BANKRUPTCY CASE AND
     DIRECTING THE CLERK TO RE-NOTICE THE MEETING OF CREDITORS

         THIS MATTER came before the Court for a hearing in Fort Lauderdale, Florida, on the __

day of January 2017, upon the Trustee’s Emergency Motion to Reconsider the Order Dismissing

Case [ECF No. 25], Reinstating the Bankruptcy Case and Directing the Clerk to Re-Notice the

Meeting of Creditors [ECF No. __] (the “Motion”). The Court having reviewed the Motion and

the record in this case, having heard argument of counsel, and being otherwise fully advised, it is

         ORDERED AND ADJUDGED as follows:



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                                                                       A
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       1.      The Motion is GRANTED.

       2.      This above captioned Chapter 7 case is REINSTATED effective upon entry of this

order. Pursuant to 11 U.S.C.§362(c)(2)(B), the automatic stay terminated on the date this case was

dismissed and was not in effect from such date until the entry of this order. The automatic stay

under 11 U.S.C. §362 shall become effective as of the date of entry of this order.

       3.      Because this case was dismissed prior to §341 meeting of creditors, the Clerk shall

schedule a new §341 meeting of creditors after the Debtor, Endless Jewelry North and South

America, LLC, has filed all required documents and schedules.

       4.      If not previously filed, any and all documents required to be filed by the debtor(s)

under 11 U.S.C. §521(a)(1), Bankruptcy Rule 1007, and Local Rule 1007-1 shall be filed no later

than 14 days after entry of this order. This shall include but is not limited to, the following:

            a. Official Bankruptcy Form 206Sum, A Summary of Your Assets and Liabilities
            b. Official Bankruptcy Form 206A/B, Schedule A/B: Property
            c. Official Bankruptcy Form 206D, Schedule D: Creditors Who Hold Claims Secured
               byProperty
            d. Official Bankruptcy Form 206E/F, Schedule E/F: Creditors Who Have Unsecured
               Claims
            e. Official Bankruptcy Form 206G, Schedule G: Executory Contracts and Unexpired
               Leases
            f. Official Bankruptcy Form 206H, Schedule H: Your Codebtors
            g. Official Bankruptcy Form 207, Statement of Financial Affairs for Non-Individuals
               Filing for Bankruptcy
                                                 ###
Submitted by:
Jason S. Rigoli, Esq.
Furr Cohen
2255 Glades Road, Suite 337W
Boca Raton, FL 33431
(561) 395-0500/fax: (561)338-7532
jrigoli@furrcohen.com
Jason S. Rigoli, Esq., is directed to serve a copy of this Order on all parties listed below and file
a Certificate of Service with the Court.

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